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                             EXHIBIT 5




                             EXHIBIT 5
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Bowen, Jonnica L.

From:                             Tom Pinkerton <sabreahope1@gmail.com>
Sent:                             Fr iday, August 23, 2024 12:30 AM
To:                               Bowen, Jonnica L.
Subject:                          Trespassed for nothing




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  content is safe.

                                                                                              I   Report Suspicious


Just wit nessed an illegal t respassing of a journalist for violating the libraries policy. Unfortunately this is
probably going to end up in a lawsuit. I have sent t he video to t he state attorney and the t he department
of ju stice. You can not t respass from public property fo r a policy violation or the way you perceive he was
t reat ing you. He is allowed to ask you questions and this does not rise to criminal t respass. The law
states t hat you are paid by t he tax dollars and t hat t here has to be not just t ransparency but you cannot
t respass unless t here has been a crime committed. It's concerning to wit ness t hings like t his because it
ends up costing t he county or state or city money in lawsuits .. please review t he laws on t respass on
public property.




                                                                                                         WC0949
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Bowen, Jonnica L.

From:                             JESUS <p igwatcher63@gmail.com >
Sent:                             Fr iday, August 23, 2024 7:12 AM
To:                               Bowen, Jonnica L.
Subject:                          Bill of Right s




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The First Amendment states, in relevant part, that: ("Congress shall make no law... abridging freedom
of speech.") I'm sure if you check in your in our library that you would find a book on the Constitution
of the United States of America. So, before you start lollygagging around and te lling people they don't
have free speech except for where you say they have free speech, you silly silly pervert.     J




                                                                                                         WC0950
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Bowen, Jonnica L.

From:                             Jason Kendall <jmkinmo@gmail.com>
Sent:                             Friday, August 23, 2024 7:57 AM
To:                               Bowen, Jonnica L.
Subject:                          Public property




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  content is safe.

                                                                                              I   Report Suspicious


You are a corrupt government employee, you are a tyrant CUNT. It 's public property, we t he people pay
for it and w e ca n visit t he peoples buildings anytime we want. We ca n crit icize ou r government employee
whenever we want. You are a fuc king KAREN. We will come and video you all we want you fuc king NAZI
BITCH.




                                                                                                         WC0951
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Bowen, Jonnica L.

From:                             Jay Matthew <j dm638.200@g mail.com>
Sent:                             Fr iday, August 23, 2024 10:50 AM
To:                               Bowen, Jonnica L.
Subject:                          Educst ion -




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  content is safe.

                                                                                              I   Report Suspicious


Why are you so proud of t he fact t hat you t hink t hat you ca n vio late the Const itutional rights of t he
pu blic?
You really should ed ucate yourself on t his. You do not have t he aut hority t o t respass someone f rom a
pu blic library!
Property leased by a government agency is the sa me as public property, not privat e property.
It is a shame t hat you are in t he pos ition t hat you hold. You should eit her ed ucate yourself or resign
immed iately!

Sincerely,
Concerned Citizen

ps: follow up investigations will be coming soo n.




                                                                                                         WC0952
           Case 3:24-cv-00526-ART-CSD              Document 64-5         Filed 03/19/25   Page 6 of 26


Bowen, Jonnica L.

From:                            Scott, Jeff
Sent:                            Friday, August 23, 2024 11:40 AM
To:                              Bowen, Jonnica L.; McKenzie, Stacy L.
Subject:                         Re: Situation



Yes all this is approved. Please take care of yourself. Thank you!

Jeff


                Jeff Scott
                Library Director | Washoe County Library System
                jscott@washoecounty.gov | Office: 775.327.8340
                301 S. Center Street, Reno, NV 89501



From: Bowen, Jonnica L. <JBowen@washoecounty.gov>
Sent: Friday, August 23, 2024 11:39:25 AM
To: Scott, Jeff <jscott@washoecounty.gov>; McKenzie, Stacy L. <SMcKenzie@washoecounty.gov>
Subject: Re: Situation

Thank you, Jeff, and thank you, Stacy, for reaching out to me and enduring my many emails
this morning. Firstly, I recognize this is probably only a very small corner of any and all
harassment both of you have been facing before I was included in it. Because I am proud
of my usual resilience, I am going to apologize for my acceptance of your offer to take some
personal time to process this – but I do need to step away in order to understand what I am
experiencing and find a way to move forward.

I have a pre-planned vacation leave for the first week of September (1 st -7th). Respectfully, I
am requesting to use annual leave starting today at 11:45 am and through next week
running into that pre-planned leave.

I would like to know if you would permit this usage intermittently during that time next week,
or also, with the permission to rescind any part of it next week if I find that I am more stable to
return to work or can do some work from home? I have the bookmobile report on my mind
as it is coming due, as I have the ability to do so I'd like to do some of that work if I can.

Stacy, I have talked with Carly about this and she will work with you for coverage needs.

I want nothing more than to show up for our team and for our community, but in this I need
to care for myself right now, and I know you understand, thank you.

Respectfully,

Jonnica


                                                                                                WC0953
           Case 3:24-cv-00526-ART-CSD                 Document 64-5         Filed 03/19/25     Page 7 of 26



Have some kudos to share about a Library Department employee or experience? Submit a nomination for a Washoe Star by
clicking this link: WASHOE STAR
                                  Jonnica Bowen
                                  Branch Manager, North Valleys Library | Washoe County Library System
                                  jbowen@washoecounty.gov| Office: 775.972.0281
                                  1075 North Hills Blvd. STE 340, Reno, NV 89506
  WASH'O'E            COU
  T TDD ADV CVCT                  My regular work week is Monday - Friday




From: Scott, Jeff <jscott@washoecounty.gov>
Sent: Friday, August 23, 2024 11:14 AM
To: Bowen, Jonnica L. <JBowen@washoecounty.gov>; McKenzie, Stacy L. <SMcKenzie@washoecounty.gov>
Subject: Situation

Jonnica,

I am sorry this is happening with the emails. I am not surprised, but it is very unsettling. If you need to take time off,
you can. We can make arrangements for coverage. Stacy and I can work with you next week. You shouldn’t have to
take this abuse, and unfortunately, this is the nature of our job from now until November. We will get through, and
you will preserve, but it is awful to have to go through it.

Let me know what you need.

Thank you for all that you do!

Jeff

                             Jeff Scott
                             Library Director | Washoe County Library System
                             jscott@washoecounty.gov | Office: 775.327.8340
  111.-.sHOl   COIi   T'I'   301 S. Center Street, Reno, NV 89501
  LIBRARY SYSTEM




                                                                                                       WC0954
           Case 3:24-cv-00526-ART-CSD                Document 64-5         Filed 03/19/25        Page 8 of 26


Bowen, Jonnica L.

From:                             Jon W ilson <edinguy2003@gmail.com>
Sent:                             Fr iday, Au gust 23, 2024 12:28 PM
To:                               Bowen, Jonnica L.
Cc:                               tips@cnn.com; Scott, Jeff; Silver, Ann (Board member)
Subject:                           Lying PUBLIC SERVANT




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                                                                                               I   Report Suspicious


@CNN , this is the PUBLIC SERVANT that lied on citizens camera, lied on police bodycam video, lied
on camera at a PUBLIC meeting and claims her policy is that the space is private property. The
minute GOVERNMENT lease private property it becomes PUBLIC.

THE DISDAIN THIS WORTHLESS PUBLIC SERVANT HAS FOR THE PUBLIC IS DISGRACEFUL.
Time for Jennica to go, the People have spoken.




                                                                                                         WC0955
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Bowen, Jonnica L.

From:                             mark v <markatfrontier@yahoo.com>
Sent:                             Saturday, August 24, 2024 8:04 PM
To:                               Bowen, Jonnica L.
Subject:                          library policy is only for the employees and someone who doesn't know or care about
                                  rights. it isn't for the general public you donkey!




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                                                                                                  Report Suspicious


jonnica

all your feel ings mean nothing, take them all and all of your friends and fam ily and pile em in the floor
and multiply by 10 billion and all that doesn't add up to one second of one persons rights, you idiots at
libraries are fkn nazis you are all more clueless than the grandiose donkeys in banks and jewelry
stores oh and don't forget churches. you would th ink you idiots with the books and info you would
know the first amendment. pound sand you mutt, grow up and learn the laws of th is FREE country ..
you fkn children are as easy to see through as a fkn 8th grader, you are easy to see through. another
thing library's need to be defunded and lose at least 60 percent of their bloated budgets. they are ALL
EMPTY when they get audited and that is why you assholes dont want cameras, you are going
obsolete and need to come down MANY levels to where you belong.
you would do well to treat your bosses good from now on dummy!

mark v ........ do better!!!




                                                                                                         WC0956
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Bowen, Jonnica L.

From:                               Jacq ue lzitchen <tommy1tom4444@gmail.com >
Sent:                               Sunday, Aug ust 25, 2024 6:56 AM
To:                                 Bowen, Jo nnica L.
Subject:                            Hello




  This Message Is From an Untrusted Sender
                                                                                         Report Suspicious
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How abo ut yo u pull your head out of your ass before you get t he living shit beat out of you. You
t respassed a person for reasons t hat fit you r style.
You do t he sa me t o me and my group, and you'll be held to t he w hipping post and punished accord ingly.
Resign ASAP you rotten lier. Or face public prosec ution. You are a horrible person and you should leave
ou r com munity.




                                                                                              WC0957
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Bowen, Jonnica L.

From:                               Ray Rudolph < rudolph.ray@g mail.com>
Sent:                               Sunday, Aug ust 25, 2024 7:00 AM
To:                                 Bowen, Jonnica L.
Subject:                            ACTUAL free speech zone




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                                                                                               WC0958
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Anadyr

            • Provideniya




                       BERING SEA




                                                                      WC0959
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I don't know whether or not you're a pervert

But I do know you are a tyrant. I've donated to his 1983 lawsuit




                                                                                          WC0960
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Bowen, Jonnica L.

From:                             Tom Dirkx <tomdirkx@aol.com>
Sent:                             Sunday, August 25, 2024 9:23 AM
To:                               Bowen, Jonnica L.
Subject:                          Reagan was Right.




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  content is safe.

                                                                                                  Report Suspicious



OK to share with Media and the Police. Thx!

The greatest service those videos provided is to the families , neighbors, colleagues and especially
kids of those miserable beings you call ' public servants '. Now they get to see what kinda JERKS &
1YRANTS you guys employ. He said: 11 The scariest nine words in America are: ''I'm from the
gubmint and I'm here to help. 11

And he was right! You proved it! Why do you turn complete idjutz, who don' t know%$#@ and insult
hardworking, law-abiding Americans, lose on the taxpayers who have to cough up their salaries? Is
this the way you want to promote the professionalism of the department or the city itself?!?!

Just because We, The Makers, provide you, the takers , with a check for little to no real work Uust
watch the video; nobody is actually doing any 'work ' ), doesn' t justify your arrogance and perceived
superiority complex. The disdain you display for Us, the Public. The disrespect for We, The People.
The entitlement and the take Me, the Tax-Payer, for granted attitude. Absolutely
disgraceful! What 's wrong with you people? WHY do you want to give your office such a bad
reputation?

And YOU ' re responsible! YOU hired those clowns and didn' t provide them with proper training.
Wasted MY tax-dollars! Or shall we blame the lack of training on the Free Press who exposes
it?? The cool thing is that everyone gets to see those immature, childish Iii pissants you hired for
the rest of their lives!

At least have the decency to send back the TAX-DOLLARS that, We, the People, provided you with ,
cuz, as we can all see for ourselves, that 's obviously a giant waste. It certainly didn' t go into
edukasjon, professionalism or training. Have some dignity; send back our money!! NOW!!




                                                                                                         WC0961
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I realize that you're scraping the bottom of the barrel, go ahead and fire ALL those oxygen-
thieves! You can do better than that!
Tom Dirkx
Veteran (meaning; I wore a REAL Uniform, not those fake ones in the video, and fought to protect
our Constitution) and very concerned Citizen!

Reagan was right; thx for reminding us.




                                                                                   WC0962
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Bowen, Jonnica L.

From:                               Gregg P <potg2@msn.com>
Sent:                               Sunday, August 25, 2024 10:01 AM
To:                                 Bowen, Jonnica L.
Subject:                            Public servants




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                                                                                          Report Suspicious
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I can see you are a disgrace t o America ....grooming pedos .. not sure about you being a pervert but democrats ,
trantifa, and t his drag story ti me shit flys hand and hand ... STOP GRPOOMING KIDS YOU SICK FUCK.




                                                                                                WC0963
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Bowen, Jonnica L.

From:                               FLYING AUDITOR <flyingauditor@gmail.com>
Sent:                               Sunday, August 25, 2024 11 :03 AM
To:                                 Bowen, Jonnica L.
Subject:                            Question ref recent video




  This Message Is From an Untrusted Sender
                                                                                         Report Suspicious
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Ms. Bowen,
Who empowered you to be judge and jury in a public space (parking lot)?

You r actions were rep rehensible and I will be contacting the mayor to ensu re you are disciplined and/or
have you removed from you r position.

Washoe county needs a person that respects t he first amendment of the constitution.

No such t hing as a free speec h zone!!!




                                                                                              WC0964
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Bowen, Jonnica L.

From:                               Robert Swensen <robertswensen@gmail.com>
Sent:                               Sunday, August 25, 2024 11 :43 AM
To:                                 Brown, Eric P.
Cc:                                 Scott, Jeff
Subject:                            YouTube video titled PERVERTED LIBRARIAN BECOM ES DELUSIONAL




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I have reviewed both YouTube videos .. Your librarian does not appear to
be trustworthy. I s there any doubt she lied to the members of the Board of Trustees
and to the citizens of Wadhoe County?

Recind all the tresspass presently in effect.




                                                                                                   WC0965
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Bowen, Jonnica L.

From:                               Justin <j ustin.leeds.1980@gmail.com>
Sent:                               Sunday, August 25, 2024 6:57 PM
To:                                 Bowen, Jonnica L.
Subject:                            Library Policy




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                                                                                              Report Suspicious
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To: The Tyrant Librarian

You should put t he woke, BS gender books in the t rash, where they belong and try reading The
Constitution & Bill of Rights, maybe then you'd know policies, whether yours or a private business, don't
matter to members of t he public. We aren't req uired to follow policy, because they aren't LAW and we
are still in America. If you can't handle peoples' Right to Free Speech(which inclu des being redressed by
members of t he public)being called a pervert, which you most certainly are, if you allow or promote
exposing children to drag queens, t hen you need to go work for a private business or yourself.
In what world do you t hink you can demand people respect you or your imagined authority? YOU are the
public employee, paid from OUR stolen tax dollars and those policies only apply to you. BTW, when any
public service agency, provider, department or sub-contractor leases private property, it becomes
public. Any member of the public that wants to, can be in and use that public space during business
hours and you can't t respass them without them having broken a LAW.
Feckless, brain less, immoral t rash people, like you, is why t his country/this world is falling apart.




                                                                                                   WC0966
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Bowen, Jonnica L.

From:                               Antti Damski <antti.damski@gmail.com>
Sent:                               Monday, Aug ust 26, 2024 12:12 AM
To:                                 Bowen, Jonnica L.
Subject:                            Fwd: Hell from educated and free Finland




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---------- Forwa rded message---------
Lahettaja: Antti Damski <antti,damski@~mail.com>
Dat e: ma 26. elok. 2024 klo 10.1o
Subject: Hell from educated and free Finland
To: <jscott@washoecounty.gov>


I t hought librarians are well ed ucated, but maybe t hat is t rue in ivilized cou nt ries only.


https://m.youtube.com/watch?v=M4 vr2J7KnA

Your country is ldiocracy come to reality, but I have to ad mit watching it from outside is very entertaining.




                                                                                                   WC0967
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Bowen, Jonnica L.

From:                               Jason Kendall <jmkinmo@gmail.com>
Sent:                               Monday, August 26, 2024 1:49 PM
To:                                 Bowen, Jonnica L.
Subject:                            Washoe County




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                                                                                          Report Suspicious
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You got busted you fuc king CUNT.
Typica l tyrant employee.




                                                                                               WC0968
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Bowen, Jonnica L.

From:                             Const2Audit <const2audit@gmail.com>
Sent:                             W ednesday, August 28, 2024 8:36 A M
To:                               privacy+05t0ivpew2zic02@support.youtube.com; Bowen, Jonnica L.; Scott, Jeff; Kaplan,
                                  Herbert; rich@mlreno.com; Bob Conrad This Is Reno; Brown, Eric P.;
                                  ed itor@nevadaappeal.com; Nevada Signal; Scott Neuffer; Hill, Alexis;
                                  mrobison@rgj.com; Gianna Jacks; Gray, Ken Assemblyman; Benjamin Margiott; Silver,
                                  Ann (Board member); sanshe1ly 1@charter.net; Clara Andriola; Nevada Liberty; NV_M edia
                                  ACLUNV; Jacks, Gianna (Board Member); Garcia, Mariluz C.; contact@thenvindy.com;
                                  Solaro, David; Reuben.DSilva@asm.state.nv.us; fredrmyer@gmail.com;
                                  freedom@charliekirk.com; Edgar.Flores@sen.state.nv.us; Fabian.Donate@sen.state.nv.us;
                                  Bert.Gurr@asm.state.nv.us; Gregory.Hafen@asm.state.nv.us;
                                  M ichelle.Gorelow@asm.state.nv.us; Alexis.Hansen@asm.state.nv.us;
                                  Heidi.Kasama@asm.state.nv.us; Howard.Watts@asm.state.nv.us;
                                  Brian.Hibbetts@asm.state.nv.us; Herman, Jeanne; Jhart@mynews4.com;
                                  jaedyngyoung@gmail.com; Lisa.Krasner@sen.state.nv.us;
                                  Gregory.Koenig@asm.state.nv.us; reno-krnv-feedback@sbgtv.com;
                                   legal@support.youtube.com; Moser, Lea (Trustee); reno misconduct; Clark, M ichael;
                                   David.Orentlicher@asm.state.nv.us; PK ONeill; PK.Oneill@asm.state.nv.us; Al Rogers
                                  (Trustee); Ruf, Tami (Trustee); Audit t he Aud it; u.burnett@outlook.com;
                                  vwmyer@gmail.com; V W; Watters@fox.com; Toby.Yurek@asm.state.nv.us;
                                  Steve.Yeager@asm.state.nv.us
Subject:                           Fwd: Case Subject




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  content is safe.

                                                                                                  Report Suspicious


Greetings YouTube Legal Support Team,

Government employees filing stri kes against soc ial media postings is censorship.

Please do not remove my videos or force me t o censor government employees while t hey perform t heir
professional obligat ions.

I beli eve t hese videos of public meetings wit h public employees speaking are of public interest and do
not have any privacy rights attached to t hem. Jonnica Bowen I believe is t he individual t hat is requesting
t he vid eos be censored or removed. Jonnica Bowen is an employee of Washoe Cou nty Nevada and is
attempt ing as a govern ment employee t o censor t he speech of t he public and quash press and speech
rights guaranteed by t he United St ates and Nevada Constit ut ions.

These videos are of a public interest and ot her new s outlets are including Ms. Bowen in t hem.




                                                                                                         WC0969
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https://www.rgj.com/story/news/local/2024/07/25/washoe-county-libraries-cancel-drag-story-hour-
over-workplace-safety-concerns/74546452007/

https://www.rgj.com/story/news/local/2024/08/06/drag-queen-story-hour-reno-nevada/74695498007/

https://thenevadaglobe.com/fl/washoe-county-libraries-cancel-drag-queen-story-hour-2/

https://www.pressreader.com/usa/reno-gazette-journal/20240811/281509346484358

https://www.washoecounty.gov/CABS/STMWV CAB/2024/files/STMWV CAB DRAFT Minutes April 202
4.docx

https://www.washoecountylibrary.us/about/board-files/20230621_Minutes_Draft_Update.pdf

https://www.facebook.com/washoecountylibrary/videos/virtual-services-update-with-jonnica-north-
valleys-branch-manager/270863884553234/

I am including the District Attorney for Washoe County in this email to ensure he is aware of this issue
that a Washoe County employee is trying to censor my speech along with my attorney.

The only information that is provided is the name of a government employee performing a function of
their office in a public meeting along with the government contact information. This information is not
private but is public record.

I respectfully request that YouTube does not remove any of this content from public meetings of public
employees that other news outlets are covering.

Respectfully,

Drew Ribar
Auditing Reno 911
775-223-7899

---------- Forwarded message ---------
From: YouTube Support Team <privacy+05t0ivpew2zic02@support.youtube.com>
Date: Tue, Aug 27, 2024 at 5:53 PM
Subject: Re: Case Subject
To: <const2audit@gmail.com>


Hi Auditing Reno 911,



This is to notify you that we have received a privacy complaint from an individual regarding your content:

-------------------------------------------------------------



                                                                                              WC0970
           Case 3:24-cv-00526-ART-CSD                  Document 64-5   Filed 03/19/25   Page 24 of 26

https://www.youtube.com/watch?v=jRDFyIWI6YI

The information reported as violating privacy is at 3_06-13_55

Please note that the violation may also occur in the title, video description, channel image or
background.

-------------------------------------------------------------

We would like to give you an opportunity to remove or edit the private information that might be present
within the content reported. This notification informs you that another user has raised a privacy concern
about your content, however, it will not automatically result in your video(s) being restricted, and no
associated penalty has been applied to your video at this time. We would like to give you an
opportunity to remove or edit the private information that might be present within the content reported.
After 48 hours of this notice, we will review the complaint for violations of our Privacy Guidelines and
consider restricting the content.



Please note that you may not need to remove the content entirely in order to resolve the issue. YouTube
offers a Custom Blurring tool, which allows you to blur anything in your video, including individuals or
information. For more information on the blurring feature, visit this Help Center article. Please also
check the title, description, video tags, channel image or background for relevant personal information.
YouTube offers metadata editing tools which you can access by going to My Videos and clicking the Edit
button on the reported video.



We're committed to protecting our users, and we hope you understand the importance of respecting
others' privacy. When uploading videos in the future, please remember not to post someone’s personal
information without their consent. For more information, please review our Privacy Guidelines.



Sincerely,

The YouTube Legal Support Team




                                                                                              WC0971
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Bowen, Jonnica L.

From:                               Russ Travis < kennethrusselltravis@ icloud.com >
Sent:                               Tuesday, September 3, 2024 5:43 AM
To:                                 Bowen, Jonnica L.
Subject:                            Canadian fan




  This Message Is From an Untrusted Sender
                                                                                              Report Suspicious
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Hi from Canada Jenica, you lying fucking pervert
Keep up the comedy we're laughing our asses off while two here in Canada. We think you are a
fucking hilarious clown.
Fuck, you fuck you r country. Fuck your girlfriend stupid fucking American clowns.




                                                                                                   WC0972
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Bowen, Jonnica L.

From:                               Russ Travis < kennethrusselltravis@ icloud.com >
Sent:                               Tuesday, September 3, 2024 5:46 AM
To:                                 Bowen, Jonnica L.
Subject:                            You and your bubbleheaded associate




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You and your bubbleheaded girlfriend should both be fired . You're both fucking ignorant perverts.




                                                                                                   WC0973
